         Case 1:21-cr-00399-RDM         Document 324        Filed 09/26/24      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

              Plaintiff,

    v.                                                 No. 21-cr-399 (RDM)

 ROMAN STERLINGOV,

              Defendant.

                   MOTION FOR COUNSEL TO APPEAR PRO HAC VICE

         I, Justin V. Shur, a member in good standing of the bar of the District of Columbia and the

bar of this Court, hereby move pursuant to LCrR 44.1(c), for Marc Fernich, an attorney from the

State of New York, to be admitted pro hac vice to appear and practice in this Court for the purpose

of representing Defendant Roman Sterlingov in the above-captioned matter.

         Mr. Fernich’s declaration and a certificate of good standing at the Bar of the State of New

York are attached hereto.



 Dated:     September 26, 2024                       Respectfully submitted,
            Washington, D.C.


                                                     /s/ Justin V. Shur
                                                     D.C. Bar #973855
                                                     MOLOLAMKEN LLP
                                                     600 New Hampshire Ave., N.W., Ste. 500
                                                     Washington, D.C. 20037
                                                     Telephone: (202) 556-2005
                                                     Facsimile: (202) 556-2001
                                                     jshur@mololamken.com
      Case 1:21-cr-00399-RDM        Document 324       Filed 09/26/24    Page 2 of 2




                              CERTIFICATE OF SERVICE

       I, Justin V. Shur, hereby certify that on this date, September 26, 2024, I caused the
foregoing Motion for Counsel to Appear Pro Hac Vice and the Supporting Declaration of Marc
Fernich to be served on all participants in the case via the CM/ECF system.


                                                 /s/ Justin V. Shur
                                                 D.C. Bar #973855
                                                 MOLOLAMKEN LLP
                                                 600 New Hampshire Ave., N.W., Ste. 500
                                                 Washington, D.C. 20037
                                                 Telephone: (202) 556-2005
                                                 Facsimile: (202) 556-2001
                                                 jshur@mololamken.com
